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B1040 (FORM 1040) (12/15)

ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

LACEY N MEDIATE

Department of Education

ATTORNEYS (Firm Name, Address, and Telephone No.)

P.0. Bx $1120 LIN COVA NE vaso

ATTORNEYS (If Known)

PARTY (Check One Box Only)

= Debtor o US. Trustee/Bankruptcy Admin
o Creditor o Other
Trustee

PARTY (Check One Box Only)

O Debtor c U.S. Trustee/Bankruptcy Admin
Creditor O Other
O Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as I, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) — Recovery of Money/Property
C1 1-Recovery of money/property - §542 turnover of property
O 12-Recovery of money/property - §547 preference
C] 13-Recovery of money/property - $548 fraudulent transfer
O 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
CL 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
C] 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
J 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
O 62-Dischargeability - $523(a)(2), false pretenses, false representation,
actual fraud
O 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

C 61-Dischargeability - §523(a)(5), domestic support

CL] 68-Dischargeability - §523(a)(6), willful and malicious injury

DJ 63-Dischargeability - §523(a)(8), student loan

CO 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)

LJ 65-Dischargeability - other

FRBP 7001(7) —Injunctive Relief
71-Injunctive relief — imposition of stay
72-Injunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

T 5S-SIPA Case — 15 U.S.C. §$§78aaa et.seq.

CI] 02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

O Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

o Check if a jury trial is demanded in complaint

Demand $

Other Relief Sought

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B1i040 (FORM 1040) (12/15)

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.

LACEY N MEDIATE

DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
SOUTHERN DISTRICT OF INDIANA __|NO DIVISION

RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF DEFENDANT ADVERSARY

. i PROCEEDING NO.
Lace Mediate
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

heh:

DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
| 02-2q- Lary LAL Nl. Mediate
INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.
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UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF INDIANA

In re:
Lacey N Mediate,
Debtor
Lacey N Mediate,
Plaintiff

ve
UNITED STATES DEPARTMENT OF
EDUCATION,

Defendant

Chapter 7
Bankruptcy Case:

Honorable:

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Complaint to Determine Dischargeability of Student Loan

1. I, Lacey N Mediate, bring this action, pro se, fo

r the discharge of my federal student loan debt under

the "undue hardship” provision set out in 11 U.S.C. $523(a)(8).

2. I filed a Chapter 7 Bankruptcy. This Court thus has jurisdiction over this action under 28 U.S.C.

§1334. This proceeding is a core proceeding. I consent to the entry of final orders of judgment by the

Bankruptcy Court in this matter.

3. This student loan, in its original amount of $38000, was incurred to pay tuition at Ivy Tech

Community College to obtain a degree in Nursing. I did not finish this degree. I withdrew from the

program.

4. My income is insufficient to meet my basic living expenses and pay back my student loan debt, as

shown on Schedules I and J filed in this case.

5. Future Inability to Repay Student Loans:

The court should presume that I will remain unable to repay my student loan debt in accordance with

the presumption of hardship criteria outlined on page 9, section B of the “Departmental Guidance

Regarding Student Loan Bankruptcy Litigation.” This presumption is based on my experience of the
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hardships listed below.
IL. Lhave failed to obtain a degree for which the loan(s) were procured (Student Loan Discharge
Guidance IV.B.4)
1. lam unable to find a steady job that pays a decent wage without a completed degree.
IV. Additional justifications for future inability to pay:
1. Lhave been unable to find employment in my field of study.
a. I was a quality assurance technician before I started the degree. That job was defunded by
programs that kept us employed.
_I have demonstrated good faith with regard to repayment of my student loan debt.
I. Ihave made payments totaling $1500 on the loan identified as "Department of Ed/Nelnet."
Il. Ihave been on a student loan repayment program.

IU. I have made good faith efforts to obtain and maintain employment in addition to maximizing

income and minimizing expenses in order to pay as much as possible toward my student loan debt.

One of the unsecured debts I owe and listed in Schedule E/F is a student loan owing to Defendant, the

Department of Education. With accumulated interest, Defendant claims that the amount that was
owed on the student loan when this case was filed was $37049.
The Defendant, the Department of Education, is responsible for the overall operation of the

guaranteed federal student loan program.

WHEREFORE, I, the Debtor, request that this Court enter an Order declaring my student loan debt to be

dischargeable in this case.

Date:

0l-24- Z0LYy

Respectfully

“hk: 3

Lacey N Mediate
Pro Se Plaintiff

1302 Cruft Street, Indianapolis, IN 46203

nicholaismommalacey2012@ gmail.com
